
FORET, Judge.
For the reasons assigned in Elizabeth Cannatella Poole v. American Bank &amp; Trust Co., Lafayette, La., Charles N. Wooten, Ltd., and Charles N. Wooten, 416 So.2d 1365 (La.App. 3 Cir. 1982) (our docket # 82-79), in which a separate judgment is being rendered this date, this matter is reversed and remanded with instructions as shown in # 82-79.
All costs of this appeal are assessed against defendant-appellee. The assessment of costs in the trial court in this action (82-81), which has been remanded, shall be made upon a final determination of the issues raised therein.
REVERSED AND REMANDED WITH INSTRUCTIONS.
